
Upon consideration of the petition filed by Defendant on the 10th of June 2019 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 14th of August 2019."
The following order has been entered on the motion filed on the 10th of June 2019 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 14th of August 2019."
The following order has been entered on the motion filed on the 10th of June 2019 by Defendant to Appoint Counsel:
"Motion Dismissed as moot by order of the Court in conference, this the 14th of August 2019."
